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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 2:05-CR-00003-JRG-RSP
                                                §
 MACEE DION GREEN.                              §

                                ORDER ON REVOCATION OF
                                  SUPERVISED RELEASE
        The above entitled and numbered criminal action was referred to United States

 Magistrate Judge Roy S. Payne pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

 Judge John D. Love, which contains his proposed findings of fact and recommendations for the

 disposition of such action, has been presented for consideration. The parties waived objections to

 the Report and Recommendation.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court.

        So Ordered and Signed on this


        May 21, 2015
